Case 3:18-cv-01400-MEM Document 4 Filed 09/27/18 Page 1of 3

UNITED STATES DITRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

V.
JUDGE MANNION
$5,430.00 U.S. Currency, and $12,570.45
Seized from Community Bank acct. ending:
In 6994 :
Defendants E NO. 3:18-CV-01400

VERIFIED CLAIM PURSUANT TO RULE G(5)(a)
NOW COMES the Defendant who respectfully submits this Verified Claim pursuant to
Rule G(5)(a).

1. On July 16, 2018, the United States of America filed a civil complaint seeking forfeiture,
pursuant to 21 U.S.C. § 881 (a)(6), in the United States District Court for the Middle District
of Pennsylvania against the following Defendant property:

a. $5,430.00 U.S. Currency; and
b. $12,570.45 seized from Community Bank account ending in 6994 in the name
of Kurt Moran MD PC.

2. The Claimant is Kurt Moran MD. The $5,430.00 in cash which was seized is after tax
family savings and the $12,570.45 funds seized from the Community Bank account is

earned income.
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In 6994 :
Defendants : NO. 3:18-CV-01400

CERTIFICATE OF SERVICE

I, Robert J Levant, Esquire Counsel for Defendants, do hereby certify that we have served a

copy of the attached, Verified Claim Pursuant to Rule G(5)(a) upon the following:

Office of the Clerk-United States District Court for the Middle District of Pennsylvania
228 Walnut Street
Harrisburg, PA 17108

Jenny P. Roberts, Assistant U.S. Attorney
235 North Washington Ave.
Scranton, PA 18503

Dated:

Bw (MAS

Robert J. Levant, Esquire

 
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3. VERIFICATION PURSUANT TO 28 U.S.C § 1746
“T declare (or certify, verify, or state) under penalty of perjury under the laws of the
United States of America that the foregoing is true and correct.

vate: S002 261 7 Meth

KURT MORAN
